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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


    INVENSAS CORPORATION,

               Plaintiff,
                                            Civil Action No. 2:17-cv-670 [RWS/RSP]
       vs.

    SAMSUNG ELECTRONICS CO., LTD.
    and SAMSUNG ELECTRONICS
    AMERICA, INC.,

               Defendants.
                                            JURY TRIAL DEMANDED


     DEFENDANTS’ RENEWED MOTION TO TRANSFER UNDER 28 U.S.C. § 1404(a)
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          The Samsung Defendants respectfully renew their motion to transfer this action to the

   District of Delaware under 28 U.S.C. § 1404(a) (D.I. 43). This Court denied Samsung’s original

   motion on August 14. D.I. 145. However, two events occurred last week that justify Samsung

   renewing its motion and the Court now transferring to Delaware.1 First, on September 3 and 4,

   Invensas provoked a dispute during the deposition of a Samsung corporate witness over what

   discovery is allowed under the parties’ Protected Communications Agreement (“PCA”).



              Yet, not even three weeks after this Court denied Samsung’s original motion in part

                                                            Invensas did both. And even if Invensas

   represents that it will not rely on the testimony obtained during the deposition, its attempt to obtain

   that testimony




          Second, on September 6, Judge Gilstrap transferred a parallel case, Tessera Advanced

   Technologies, Inc. v. Samsung Electronics Co., 17-cv-00671 (E.D. Tex.) (“Tessera Action”),

   based on the same PCA and its forum selection clause. Judge Gilstrap recognized that the plaintiff

   in that action (a corporate sister of plaintiff Invensas) would need to rely on PCA-covered

   communications to pursue its willfulness claim and that this would inevitably result in disputes

   concerning the PCA’s interpretation. In the present case, there is no need to wait for such



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     To the extent that the Court treats this renewed motion as a motion for reconsideration, the
   standard for reconsideration is met. To prevail on a motion for reconsideration, the moving party
   must show “(1) an intervening change in controlling law; (2) the availability of new evidence not
   previously available; or (3) the need to correct a clear error of law or prevent manifest injustice.”
   In re Benjamin Moore & Co., 318 F.3d 626, 629 (5th Cir. 2002). Samsung’s renewed motion
   relies on new facts and intervening authority that became available after September 3. These
   intervening developments thus occurred after this Court’s order denying Samsung’s original
   motion on August 14 and also after the August 28 deadline for filing objections to that order.


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   inevitable disputes—                                                               . Samsung thus

   respectfully renews its motion and submits that this case should be transferred to Delaware as well.

          A.      The PCA Applies To This Action And Related Actions Against Samsung
          On September 28, 2017, Invensas and its affiliates filed seven domestic actions (including

   this action) against Samsung defendants in this District, Delaware, New Jersey, and in the U.S.

   International Trade Commission. In all three actions in this District, Samsung filed motions to

   transfer on February 1, 2018, with each motion arguing that plaintiff’s reliance on the parties’ pre-

   suit communications to prove willfulness created a dispute as to whether the plaintiff had violated

                                                                                              The table

   below lists the three actions filed in this District and the status of Samsung’s motions to transfer.

    Case Caption                  Judge(s)               Motion To Transfer And Motion Status
    Invensas Corp. v.             Judge Schroeder         Motion filed on February 1. D.I. 43.
    Samsung Elecs. Co., Ltd.      Judge Payne             Motion denied on August 14. D.I. 145.
    and Samsung Elecs. Am.,
    Inc., 17-cv-00670 (this
    action)
    Tessera Advanced Techs.,      Judge Gilstrap          Motion filed on February 1. D.I. 33.
    Inc. v. Samsung Elecs.                                Motion granted on September 6. D.I. 119.
    Co., 17-cv-00671
    (“Tessera Action”)
    FotoNation Ltd. and           Judge Schroeder         Motion filed on February 1. D.I. 49.
    DigitalOptics Corp.                                   Samsung filed a notice of supplemental
    MEMS v. Samsung Elecs.                                 authority identifying Judge Gilstrap’s
    Co., 17-cv-00669                                       decision in the Tessera Action on
                                                           September 6. D.I. 136.
                                                          Motion remains pending.


          Samsung and Tessera Technologies. Inc.—the parent company of the named plaintiffs in

   all three actions—entered into the




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          B.     Samsung’s Original Motion To Transfer
          Samsung’s original motion argued that, among other things, Invensas’s reliance on the

   parties’ pre-suit communications to support its willfulness claims raised a dispute as to whether

   Invensas had violated the

                               D.I. 43 at 13-14. Invensas responded that no ripe “disputes or claims


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   exist[ed]”



                                         D.I. 55 at 7-9.

          On August 14, 2018, this Court denied Samsung’s motion, reasoning “Defendants claim

   that Invensas must rely on pre-suit communications between the parties to prove its willful-

   infringement claims, but provides no evidence Invensas has done so yet.” D.I. 145 at 7. The Court

   concluded then that there was no “present dispute under the PCA” when Samsung filed its original

   motion on February 1, just days after fact discovery opened.         Id.   The Court, however,

   acknowledged that the PCA’s scope “might become an issue” later in the case, though “the Court

   is not convinced it is inevitable.” Id.




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                                                                                 This action should

   therefore be transferred to Delaware.

          D.      Judge Gilstrap’s September 6 Order Granting Transfer Based On The PCA
          In the Tessera Action, Judge Gilstrap granted Samsung’s motion to transfer to Delaware

   based on the same PCA and the same forum selection clause. Ex. B. Judge Gilstrap anticipated

   that disputes under the PCA would be unavoidable given plaintiff’s willfulness claims. Id. at 6.

   Specifically, Judge Gilstrap found that even if the PCA allowed each party to rely on its own

   communications to prove willfulness, the plaintiff would necessarily have to rely on protected

   communications from Samsung to determine “what was received by Samsung” and “how Samsung

   reacted to such communications”:

          Regardless of the extent that the Court needs to interpret the PCA, Samsung’s
          argument is non-frivolous. Any willfulness analysis of the communications that
          were disclosed by Tessera will necessarily involve an analysis of what was
          received by Samsung and how Samsung reacted to such communications.
          Further, the Court finds that it is not facially obvious as to which communications
          are protected and which are not. In order to try this case, the Court must
          unavoidably interpret the PCA, including the definition of “Protected
          Communications.” Accordingly, the Court finds that Samsung has sufficiently




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          shown that forum-selection clause of the PCA attaches to this action and must be
          included in the § 1404(a) analysis. (Id. (emphasis added).)2

          Judge Gilstrap’s reasoning applies equally to this case. Moreover, Judge Gilstrap’s

   expectations about the necessity and unavoidability of interpreting the PCA in the Tessera Action

   have now been confirmed in this action




                                    As Judge Gilstrap concluded, such disputes about “which

   communications are protected and which are not” under the PCA must be resolved by a Delaware

   court. Id. Accordingly, pursuant to the PCA’s forum selection clause, this action should be

   transferred to Delaware.

          E.      Conclusion
          For the reasons stated above, in Samsung’s briefing on its original transfer motion (D.I. 43,

   61), and in Judge Gilstrap’s order granting transfer of the Tessera Action, Samsung respectfully

   requests that this Court transfer this action to Delaware.




   2
     Judge Gilstrap found that because there is a non-frivolous argument that the PCA applies,
   Invensas had contractually consented to venue in Delaware through the PCA and, thus, the Tessera
   Action could have been brought in Delaware. Ex. B at 5 n.1. In addition, Judge Gilstrap found
   that because the PCA applies, only the public convenience factors had to be considered in the
   transfer analysis. Id. at 7-9. He concluded that the public factors did not outweigh the PCA’s
   forum selection clause. Id. In particular, while Delaware was more congested than this District in
   2017, in August 2018, Delaware appointed two new district judges, Judges Colm Connolly and
   Maryellen Noreika. Id. These findings apply equally to this action.


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         Dated: September 10, 2018    Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          The undersigned certifies that the foregoing document was filed electronically in

   compliance with Local Rule CV-5(a). Plaintiff’s counsel of record were served with a true and

   correct copy of the foregoing document by electronic mail on this the 10th day of September, 2018.


                                                        /s/ Melissa R. Smith
                                                        Melissa R. Smith




                                CERTIFICATE OF CONFERENCE


          Since September 7, 2018, pursuant to Local Rule CV-7(h), counsel for Defendants has

   contacted counsel for Plaintiff regarding a meet and confer. Plaintiff has not responded.

   Defendants are filing this renewed motion opposed because counsel for Plaintiff opposed

   Defendants’ original motion to transfer (D.I. 43).


                                                        /s/ Melissa R. Smith
                                                        Melissa R. Smith




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